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Andrew M. Wagley, ISB #10277
Samir Dizdarevic-Miller, ISB #11471
ETTER, McMAHON, LAMBERSON,
VAN WERT & ORESKOVICH, P.C.
618 W. Riverside Avenue, Suite 210
Spokane, WA 99201
Phone: 509-747-9100
Fax: 509-623-1439
Email: awagley@ettermcmahon.com
Email: samir@ettermcmahon.com
Attorneys for Plaintiff Cody J. Schueler

                          UNITED STATES DISTRICT COURT
                      DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                     Plaintiff,                Case No. 2:22-cv-00389-DCN

      v.
                                               MEMORANDUM IN SUPPORT OF
FOUR SQUAREBIZ, LLC, a Wyoming                 MOTION FOR DEFAULT
limited liability company, KEITH O.            JUDGMENT
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                     Defendants.


      COMES NOW, Plaintiff CODY J. SCHUELER, by and through his attorneys of record,

and hereby respectfully submits the following Memorandum in Support of Plaintiff’s Motion

for Default Judgment against Defendants Four SquareBiz, LLC (“Four SquareBiz”) and Keith

O. Crews, individually and the associated marital community comprised thereof (“Defendant

Crews”).   As indicated further below, Plaintiff does not seek Default Judgment against

Defendant Micah Eigler (“Defendant Eigler”) based upon Defendant’s Chapter 7 Bankruptcy.


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     Despite this litigation pending for 11 months, Defendants have failed to formally

appear, obtain counsel, or demonstrate a meaningful attempt to defend this lawsuit. As such,

Default Judgment in the amount of $1,199,809.31, comprised of $938,967.55 in principal and

$260,841.76 in reasonable interest, is appropriate against the remaining Defendants.

                                     BACKGROUND

     This is a commercial lawsuit stemming from the breach of three Bitcoin Loan

Agreements executed by Defendants, along with accompanying Personal Guarantees executed

by Defendant Crews and Eigler. (See ECF No. 1.) Plaintiff Cody J. Schueler filed this

lawsuit on September 12, 2022. (See id.)

     As indicated in the Complaint, Defendants “approached Mr. Schueler in early 2021

regarding the opportunity to invest in the funding and launch of ‘Dstem Coin,’ a purportedly

new decentralized, blockchain cryptocurrency.” (ECF No. 1 at 4.) Plaintiff knew Defendants

Crews and Eigler “from previous business transactions” and Defendant Crews “purported to

be the Chief Executive Officer (CEO) and Chairman of Four SquareBiz, LLC.”                        (Id.)

Thereafter, Defendants presented Mr. Schueler various documents regarding “Dstem Coin,”

including “PowerPoint presentations,” industry “White Paper,” and “a Four SquareBiz ‘Co-

Venture Equity Agreement’ for the funding and launch of Dstem Coin.” (Id.)

     Based upon such inducement, the parties entered into three “Bitcoin Loan Agreements,”

whereby Mr. Schueler served as the Lender and Defendants Crews and Four SquareBiz were

Borrowers. (See ECF No. 1-2 at 1-63.) In addition, Defendants Crews and Eigler executed

unconditional and absolute Personal Guarantees, wherein they contractually agreed to perform




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the duties, perform the obligations, and make payments in the event of nonperformance under

the three Bitcoin Loan Agreements. (See id.)

      The first Bitcoin Loan Agreement was executed on March 27, 2021. (See ECF No. 1 at

4-5.) “The express purpose of the first Bitcoin Loan Agreement was for ‘Borrower to secure

equity funding through Trust Funds Capital, Ltd and serviced through https://bittrei.io’ for the

launch and funding of Dstem Coin.” (Id. at 5.) “As part of the inducement to enter into the

first Bitcoin Loan Agreement, Defendants presented Mr. Schueler with purported

documentation from ‘Trust Funds Capital,’” which included “a ‘Digital Private Equity

Funding’ loan as part of the Dstem Coin funding process.” (Id. at 5, 31-37.)

      Pursuant to the first Bitcoin Loan Agreement, Mr. Schueler disbursed five Bitcoins to

Defendants on March 27, 2021 via the BTC address referenced in the Agreement. (Schueler

Decl. at ¶ 5.) At that time, one Bitcoin had a market value of approximately $55,973.51. (See

id.) Defendants never performed under the first Bitcoin Loan Agreement and never repaid

Mr. Schueler the $279,867.55 principal loaned. (Id. at ¶ 6; ECF No. 1 at 6.)

      The second Bitcoin Loan Agreement was executed on April 26, 2021. (ECF No. 1 at

6.) “The express purpose of the second Bitcoin Loan Agreement is ‘for the Borrower to pay

for the Funds Transfer Clearance Code (‘FTCC’) to transfer two hundred thirty million dollars

($230,000,000.00)’ associated with the funding and launch of Dstem Coin.” (Id.) “As part of

the inducement to enter into this Agreement, Defendants presented Mr. Schueler with

purported documentation from ‘Trust Funds Private banking,’” which “requested Mr. Crews

‘proceed to pay your Funds Transfer Clearance Code (FTCC) to complete your withdrawal’

of $230,000,000 as part of the Dstem Coin funding process.” (Id. at 6 and 49.)


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       Under the second Bitcoin Loan Agreement, Mr. Schueler disbursed $363,000 in Bitcoin

to Defendants on April 26, 2021 via the BTC Wallet address referenced in the Agreement.

(Schueler Decl. at ¶ 7.)     Defendants never performed under the second Bitcoin Loan

Agreement and never repaid Mr. Schueler the $363,000 in principal loaned. (Id. at ¶ 8.)

       The third Bitcoin Loan Agreement was entered into on April 29, 2021. (ECF No. 1 at

7.) “The express purpose of the third Bitcoin Loan Agreement was for ‘the Borrower to pay

for HMRC Tax Clearance Pin (‘TCP’) to pay taxes on the transfer of Borrower’s loan fund of

two hundred million thirty dollars ($230,000,000.00)’ associated with the funding of Dstem

Coin.” (Id. at 7-8.) “As part of the inducement to enter into this Agreement, Defendants

presented Mr. Schueler with purported documentation of a ‘FTCC payment request from

TrustFunds Private Bank.’” (Id. at 8.)

       Pursuant to the third Bitcoin Loan Agreement, Mr. Schueler disbursed $296,100 in

Bitcoin to Defendants on April 29, 2021 via the BTC Wallet address referenced in the

Agreement. (Schueler Decl. at ¶ 9.) Defendants never performed under the third Bitcoin

Loan Agreement and never repaid Mr. Schueler the $296,100 principal loaned. (Id. at ¶ 10.)

       All three Bitcoin Loan Agreements expressly indicate that they are governed by Idaho

law:

        6. Governing Law. This Agreement is governed by the laws of the State of
        Idaho, and any questions arising hereunder shall be construed or determined in
        accordance with such law.

(See ECF No. 1 at 23, 41, 53, 64, and 74; ECF No. 1-2 at 4, 22, 34, 45, and 55.) The Personal

Guarantees also indicate that they “shall be governed by and construed in accordance with the

laws of the State of Idaho.” (ECF No. 1 at 29, 47, and 59.)


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      As indicated in the Complaint, the documentation from “Trust Funds Capital,” “Trust

Funds Private banking,” and “TrustFunds Private Bank” Defendants used to induce Mr.

Schueler to enter into the three Bitcoin Loan Agreements were “false, fabricated, and

fraudulent.” (ECF No. 1 at 5, 7, and 8.) The information associated with these purported

entities on the loan documents “is invalid, comes back to different entities, or otherwise is not

associated with a legitimate financial institution.” (Id.) Furthermore, “[n]one of these names

are listed with the Office of the Comptroller of the Currency, Federal Deposit Insurance

Corporation (FDIC), Federal Reserve National Information Center, or any pertinent Secretary

of State business entity searches.” (Id. at 10.) The Complaint further alleges that “Dstem

Coin is not a legitimate cryptocurrency investment.” (Id.) In this vein, Plaintiff alleged that

“[a]ll of the information and documentation regarding Dstem Coin was created, fabricated,

and falsified by Defendants to defraud potential investors.” (Id.)

      The Complaint alleges that “[p]rior to filing this lawsuit, Mr. Schueler made multiple,

good faith attempts to negotiate a resolution of this matter with Defendants and repayment of

the funds loaned under the three Bitcoin Loan Agreements.” (ECF No. 1 at 9.) Additionally,

“Defendants have continually promised repayment to Mr. Schueler, but have indicated delays

associated with other projects.” (Id.) This conduct continued following the initiation of

litigation. The Clerk entered Defaults against Four SquareBiz and Defendant Crews on

January 26, 2023 and Defendant Eigler on March 6, 2023. (ECF No. 22; ECF No. 27.) On

April 4, 2023, Defendant Eigler filed Chapter 7 Bankruptcy, resulting in an automatic stay

against Defendant Eigler.     (See ECF No. 28.)      Plaintiff respectfully moves for Default

Judgment against remaining Defendants Four SquareBiz and Crews, jointly and severally.


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                                   POINTS & AUTHORITIES

        Once default has been entered by the Clerk, it is within the Court’s discretion to grant a

default judgment. See Fed. R. Civ. P. 55(b)(2). Before entering default judgment, the Court

“may conduct hearings or make referrals . . . when, to enter or effectuate judgment, it needs to

. . . determine the amount of damages.” Fed. R. Civ. P. 55(b)(2). “When considering a motion

for default judgment, ‘the factual allegations of the complaint, except those relating to the

amount of damages, will be taken as true.’” J & J Sports Prods., Inc. v. Aiken, 2022 WL

3213094, at *1 (D. Idaho 2022)1 (quoting TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915,

917 (9th Cir. 1987)). The Court must analyze: (1) whether a default judgment is warranted,

and (2) the appropriate amount of damages. See id.2

    A. Despite Defendant Eigler’s Bankruptcy Stay, Plaintiff May Obtain Default
       Judgment Against the Remaining Defendants.

        As an initial matter, Plaintiff may proceed against Defendants Four SquareBiz and

Crews, despite Defendant Eigler’s Chapter 7 Bankruptcy and associated automatic stay

pursuant to 11 U.S.C. § 362(a). There is no risk of inconsistent results as all Defendants were

in Default prior to Defendant Eigler’s Chapter 7 Bankruptcy.

        First, the automatic stay pursuant to 11 U.S.C. § 362(a) only applies to the debtor in

bankruptcy (i.e., Defendant Eigler). Pursuant to the Ninth Circuit:




1
  Unpublished, out-of-jurisdiction, and secondary sources offered for nonbinding, persuasive
purposes only.
2
  The Court must also “confirm that it has subject matter jurisdiction over the case and
personal jurisdiction over the parties.” Yelp Inc. v. Catron, 70 F. Supp. 3d 1082, 1091 (N.D.
Cal. 2014). These requirements were established in Plaintiff’s previous Motions for Default.


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       As a general rule, ‘[t]he automatic stay of section 362(a) protects only the
       debtor, property of the debtor or property of the estate. It does not protect non-
       debtor parties or their property. Thus, section 362(a) does not stay actions
       against guarantors, sureties, corporate affiliates, or other non-debtor parties
       liable on the debts of the debtor.”

In re Chugach Forest Products, Inc., 23 F.3d 241, 246 (9th Cir. 1994) (internal quotations

omitted). Although the bankruptcy stay may be extended to non-debtors, the Bankruptcy

Court—and not the District Court—“first needs to extend the automatic stay under its equity

jurisdiction” predicated upon the “unusual need to take this action to protect the

administration of the bankruptcy estate.” Boucher v. Shaw, 572 F.3d 1087, 1093 n. 3 (9th Cir.

2009). Simply put, Defendant Eigler’s bankruptcy stay does not extend to Defendant Four

SquareBiz and/or Defendant Crews.

     Second, there is no risk of inconsistent judgments under Fed. R. Civ. P. 54(b) as all

Defendants are in Default, Defendant Eigler is in Chapter 7 Bankruptcy, and Default

Judgment is warranted against Defendants Four SquareBiz and Crews. “[U]nder certain

circumstances, the court should not enter a default judgment against one or more defendants

which is, or likely to be, inconsistent with judgment on the merits in favor of the remaining

answering defendants.” Shanghai Automation Instrument Co. v. Kuei, 194 F. Supp. 2d 995,

1005 (N.D. Cal. 2001) (citing Frow v. De La Vega, 82 U.S. (15 Wall.) 552 (1872)). However,

this should not be a concern in the situation at hand as “these policy considerations ‘do not

apply’ where ‘default has been entered against all [d]efendants.’”                 Phillips 66 Co. v.

California Pride, Inc., 2017 WL 2875736, at *5 (E.D. Cal. 2017) (quoting Travelers Cas. &

Sur. Co. of Am. v. Evans, 2012 WL 4468422, at *1 (E.D. Cal. 2012)). In other words, there is




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no risk of inconsistent results when all defendants have been put in default, have not

defended, and have not disputed the merits. See id.

      Multiple District Courts within the Ninth Circuit have entered default judgment against

remaining defendant(s) after a co-defendant enters bankruptcy. See, e.g., Phillips 66 Co.,

2017 WL 2875736, at *6 (“notwithstanding the automatic stay as to the Individual

Defendants,” the court “may proceed against only Defendant California Pride, Inc”); Evans,

2012 WL 4468422, at *1 (“there is no risk of inconsistent results among” the remaining

defendants and there is “no just reason to delay these proceedings”); S. California Breakfast

Clubs, Inc. v. Breakfast Club Am., LLC, 2008 WL 4790523 (S.D. Cal. 2008); (Stewart Title

Guar. Co. v. 2485 Calle Del Oro, LLC, 2018 WL 3222610 (S.D. Cal. 2018). Plaintiff is

entitled to seek this Default Judgment against the remaining Defendants. See id.

 B. Plaintiff is Entitled to Entry of Default Judgment Against Remaining Defendants.

      In exercising its discretion to enter a default judgment, the Court may consider several

factors, including the “Eitel Factors”:

       (1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff's
       substantive claim, (3) the sufficiency of the complaint, (4) the sum of money at
       stake in the action; (5) the possibility of a dispute concerning material facts; (6)
       whether the default was due to excusable neglect, and (7) the strong policy . . .
       favoring decisions on the merits.

Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986). The totality of the Eitel Factors

warrant entry of the requested Default Judgment. See id.

          1. Possibility of Prejudice to Plaintiff.

      The first Eitel Factor is “the possibility of prejudice to the plaintiff.” 782 F.2d at 1472.

This factor is met if the defaulting defendants are not participating in this litigation,


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potentially leaving Plaintiff without a remedy and “denied the right to judicial resolution of

the claims presented.” Elektra Entm't Grp. Inc. v. Crawford, 226 F.R.D. 388, 392 (C.D. Cal.

2005); accord Weese v. Lusso Auto LLC, 2023 WL 244501, at *2 (D. Ariz. 2023) (noting that

“Plaintiff will likely be without other recourse for recovery” if default judgment not granted).

As Plaintiff has no apparent legal remedy nor recourse against Defendants outside of this

litigation, this factor supports the requested Default Judgment. See id.

         2. Merits of Plaintiff’s Substantive Claims, and
         3. Sufficiency of the Complaint.

      The second and third Eitel Factors are “(2) the merits of plaintiff’s substantive claim[s]”

and “(3) the sufficiency of the complaint.” 782 F.2d at 1471. “The second and third factors

dealing with sufficiency of the complaint and the merits of plaintiff’s claims—perhaps the

most important among the Eitel factors—are usually considered together.”                           Acosta v.

Pindernation Holdings LLC, 2023 WL 3951222, at *3 (D. Ariz. 2023). Under this analysis,

“‘the well-pleaded allegations of the complaint relating to a defendant’s liability are taken as

true.’” Yelp Inc. v. Catron, 70 F. Supp. 3d 1082, 1091 (N.D. Cal. 2014) (quoting Pepsico,

Inc. v. Cal. Sec. Cans, 238 F.Supp.2d 1172, 1175 (C.D. Cal. 2002)); accord Weese, 2023 WL

244501, at *2. The Court must consider “whether the plaintiff has stated a claim on which it

may recover.” Ariz. Bd. of Regents v. Doe, 555 F. Supp. 3d 805, 816 (D. Ariz. 2021).

      When sitting in diversity, the Court considers the substantive law of the forum state in

determining whether Plaintiff has stated a claim. See, e.g., Yelp, Inc., 70 F. Supp. 3d at 1098-

99. The Complaint adequately pleads the following causes of action under Idaho law:




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                   i. Breach of Contract—Both Remaining Defendants.

      Under Idaho law, “[t]he elements for a claim for breach of contract are: (a) the existence

of the contract, (b) the breach of the contract, (c) the breach caused damages, and (d) the

amount of those damages.” Mosell Equities, LLC v. Berryhill & Co., 297 P.3d 232, 241

(Idaho 2013). In general, “a party who signs a written contract is presumed to know its

contents and to assent to them.” N. Wind Constr. Servs., LLC v. Campos EPC, LLC, 2023

WL 196618, at *7 (D. Idaho 2023). Breach occurs if performance is not tendered when

required. See Ervin Const. Co. v. Van Orden, 874 P.2d 506, 510 (Idaho 1993). Damages

must be proven “with reasonable certainty,” which does not require “absolute assurance nor

mathematical exactitude.” N. Wind Constr. Servs., LLC, 2023 WL 196618, at *7.

      In addition to the facts recited above, Plaintiff’s First Cause of Action (Breach of

Contract) alleges, in pertinent part:




(ECF No. 1 at 11.) Plaintiff has alleged a valid breach of contract claim.

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                  ii. Breach of Personal Guarantees—Defendant Crews.

      Pursuant to Idaho law, “[a] guarantee is an undertaking or promise on the part of the

guarantor which is collateral to a primary or principal obligation and binds the guarantor to

performance in the event of non-performance of the principal obligor.” Indus. Inv. Corp. v.

Rocca, 596 P.2d 100, 104 (Idaho 1979). Additionally, “[a]n unconditional guaranty is a

promise by the guarantor to pay the debt or perform the obligation upon default without

requiring the secured party to first exhaust its remedies against the debtor.” CIT Fin. Servs. v.

Herb's Indoor RV Ctr., Inc., 795 P.2d 890, 892 (Idaho Ct. App. 1990). A breach of personal

guaranty is analyzed the same as a breach of contract claim. See id. (“Plain and unambiguous

terms dictate the intent of the parties and the obligations guaranteed.”).

      In relation to the unconditional and absolute Personal Guarantees, Plaintiff’s Second

Cause of Action alleges, in pertinent part:




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(ECF No. 1 at 12-13.) The Complaint alleges a meritorious breach of guarantees claim.

                  iii. Breach of Good Faith and Fair Dealing—Both Remaining Defendants.

      Under Idaho law, “the implied covenant of good faith and fair dealing ‘requires that the

parties perform, in good faith, the obligations imposed by their agreement.’” Dickinson

Frozen Foods, Inc. v. FPS Food Process Sols. Corp., 2022 WL 3346296, at *9 (D. Idaho

2022) (quoting Idaho Power Co. v. Cogeneration, Inc., 134 Idaho 738, 750, 9 P.3d 1204,

1216 (2000)). In turn, “‘[t]he implied covenant of good faith is violated when a party

‘violates, nullifies or significantly impairs any benefit of the . . . contract.’” VNS Fed. Servs.,

LLC v. Portsmouth Mission All., LLC, 2020 WL 4227553, at *4 (D. Idaho 2020) (quoting

Jones v. Micron Tech., Inc., 923 P.2d 486, 492 (Idaho Ct. App. 1996)).

      Plaintiff’s Third Cause of Action (Breach of Good Faith and Fair Dealing) alleges, in

pertinent part:




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(ECF No. 1 at 13-14.) Plaintiff has stated a meritorious claim.

                 iv. Conversion—Both Remaining Defendants.

      “Conversion is the act of wrongfully asserting dominion over another’s personal

property in denial of or inconsistent with the owner’s rights therein.” In re Parkinson Seed

Farm, Inc., 640 B.R. 218, 263 (Bankr. D. Idaho 2022). Conversion requires three elements:

“(1) that Defendants wrongfully gained dominion of property; (2) that the property was

owned or possessed by Plaintiff at the time Defendants gained dominion; and (3) the property

in question is personal property.” In re Parkinson Seed Farm, 640 B.R. at 263. Bitcoin

constitutes “personal property” for a conversion claim. See Howard v. Selene Fin., 2019 WL

1495254, at *4 (D. Idaho 2019) (“the $100,400 check is personal property”); accord Warm

Springs Properties, Inc. v. Andora Villa, Inc., 526 P.2d 1106, 1108 (Idaho 1974) (“Normally

conversion for misappropriation of money does not lie unless it can be described or identified

as a specific chattel.”); see also BDI Capital, LLC v. Bulbul Investments LLC, 446 F. Supp. 3d

1127, 1137 (N.D. Ga. 2020) (“bitcoins are sufficiently identifiable to be considered ‘specific

intangible property’ subject to an action for conversion”).

      Plaintiff’s Fourth Cause of Action (Conversion) alleges, in pertinent part:




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(ECF No. 1 at 14-15.) The Complaint alleges a valid conversion claim.

                  v. Fraud—Both Remaining Defendants.

      Pursuant to Idaho law, common law fraud requires a claimant to establish the following

elements:

       (1) a representation; (2) its falsity; (3) its materiality; (4) the speaker’s
       knowledge of its falsity or ignorance of its truth; (5) his intent that it should be
       acted on by the person and in the manner reasonably contemplated; (6) the
       hearer’s ignorance of its falsity; (7) his reliance on the truth; (8) his right to
       rely thereon; and (9) his consequent and proximate injury.

LaKamp v. Runft, 2023 WL 2333397, at *9 (D. Idaho 2023) (quoting G & M Farms v. Funk

Irrigation Co., 808 P.2d 851, 855 (Idaho 1991)).              For purposes of a fraud claim,

“‘[m]ateriality refers to the importance of the misrepresentation in determining the plaintiff’s

course of action.’” In re Parkinson Seed Farm, 640 B.R. at 260 (quoting Watts v. Krebs, 962

P.2d 387, 390 (Idaho 1998)).         In turn, “false representations made during negotiations

concerning the condition of the subject matter of the contract can support a finding of fraud in

the inducement.” Budget Truck Sales, LLC v. Tilley, 419 P.3d 1139, 1145 (Idaho 2018).




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      The heightened “particularity” pleading standard of Fed. R. Civ. P. 9(b) requires “the

plaintiff to allege in his complaint ‘the who, what, where, when, and how’ of the alleged

fraudulent conduct.” Miesen v. Connie Taylor Henderson, 2017 WL 1458191, at *11 (D.

Idaho 2017) (quoting Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997)). Importantly, a

default judgment for fraud is not as easily dischargeable in bankruptcy. See 11 U.S.C. §

523(a)(2)(A) (debtor’s liability not discharged in bankruptcy for assets obtained by “false

pretenses, a false representation, or actual fraud”); accord In re Sabban, 600 F.3d 1219, 1222

(9th Cir. 2010) (setting forth elements of “non-dischargeability under § 523(a)(2)(A)”).

      As indicated above, the unanswered Complaint alleges that the documentation from

“Trust Funds Capital,” “Trust Funds Private banking,” and “TrustFunds Private Bank” that

were attached to the Bitcoin Loan Agreements and used to induce Plaintiff’s entry therein

were “false, fabricated, and fraudulent.” (ECF No. 1 at 5, 7, and 8.) The Complaint also

alleges that, in addition to these fabricated financial entities, “Dstem Coin is not a legitimate

cryptocurrency investment.” (Id. at 10.) Further, Plaintiff’s reliance upon the false statements

was reasonable as he knew Defendants Crews and Eigler “from previous business

transactions” and Defendant Crews “purported to be the Chief Executive Officer (CEO) and

Chairman of Four SquareBiz, LLC.” (Id. at 4.) As such, Plaintiff’s Fifth Cause of Action

(Fraud) alleges, in pertinent part:




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(ECF No. 1 at 15-16.) Plaintiff has pled a meritorious fraud claim under the heightened

pleading standard of Fed. R. Civ. P. 9(b).




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                 vi. Civil Conspiracy—Both Remaining Defendants.

      Pursuant to Idaho law, “[a] civil conspiracy that gives rise to legal remedies exists only

if there is an agreement between two or more to accomplish an unlawful objective or to

accomplish a lawful objective in an unlawful manner.” Mannos v. Moss, 155 P.3d 1166, 1174

(Idaho 2007). For purposes of a conspiracy to defraud, “there must be some showing of

specific evidence of a plan or agreement to defraud to demonstrate the pendency of the

conspiracy at the time the alleged fraud occurred.” Mannos, 155 P.3d at 1174.

      Here, the Complaint alleges that Defendants acted in concert by jointly inducing

Plaintiff to enter into the Bitcoin Loan Agreements and disburse funds. The loan documents

speak for themselves and establish the requisite conspiracy agreement amongst Defendants.

As such, Plaintiff’s Sixth Cause of Action (Civil Conspiracy) alleges, in pertinent part:




(ECF No. 1 at 17.) Plaintiff has alleged a meritorious civil conspiracy claim.


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                vii. Implication of Marital Community—Defendant Crews.

      In addition to Plaintiff’s substantive claims, the Complaint alleges that Defendant

Crews is married and the caption names “the associated marital community.” (See ECF No.

1.) The Bitcoin Loan Agreements provide that “[t]his Agreement is governed by the laws of

the State of Idaho.” (ECF No. 1 at 23, 41, and 53.) The Personal Guarantees likewise provide

that “[t]his Guarantee shall be governed by and construed in accordance with the laws of the

State of Idaho.” (ECF No. 1 at 29, 47, and 59.) Both the Bitcoin Loan Agreements and

Personal Guarantees expressly apply Idaho law, and therefore, invoke Idaho community

property law. (See id.)

      For purposes of a choice of law analysis, “[f]ederal courts sitting in diversity must apply

‘the forum state’s choice of law rules to determine the controlling substantive law.’” Fields v.

Legacy Health Sys., 413 F.3d 943, 950 (9th Cir. 2005) (quoting Patton v. Cox, 276 F.3d 493,

495 (9th Cir. 2002)). Idaho follows the choice of law provisions of the Restatement (Second)

of Conflict of Laws and its progeny. See, e.g., Stimpson v. Midland Credit Mgmt., Inc., 347 F.

Supp. 3d 538, 546 (D. Idaho 2018), aff'd, 944 F.3d 1190 (9th Cir. 2019). Pursuant to the

Restatement (Second) of Conflict of Laws § 187 (1971), various courts have upheld choice of

law provisions in relation to the implication of community property. See First-Citizens Bank

& Tr. Co. v. Morari, 399 P.3d 109, 112-13 (Ariz. Ct. App. 2017) (Arizona community

property law applied to guaranty, despite residence in California, based upon choice of law

provision in principal obligation that “[t]his Agreement shall be governed by and construed in

accordance with the laws of the state of Arizona”); accord Shanghai Commercial Bank Ltd. v.

Kung Da Chang, 404 P.3d 62, 70 (Wash. 2017) (Hong Kong law applied to community


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property in Washington based upon choice of law provision); see also Am. Nat. Bank v.

Medved, 801 N.W.2d 230, 237 (Neb. 2011) (Nebraska law applied to promissory note despite

community property law of Arizona where parties’ resided).

     Idaho is a community property state. See I.C. § 32-906. “In Idaho, indebtedness

incurred by a spouse during marriage is presumed to be a community obligation.” In re Warr,

410 B.R. 891, 896 (Bankr. D. Idaho 2009) (citing Simplot v. Simplot, 526 P.2d 844, 851

(Idaho 1974)); accord I.C. § 32-912 (“Either the husband or the wife shall have the right to

manage and control the community property, and either may bind the community property by

contract.”). As such, only one spouse needs to sign a personal guaranty in order to bind the

marital community. See id. Furthermore, torts committed for the benefit of the marital

community or through the use of community property implicate the marital community. See

Hegg v. I.R.S., 28 P.3d 1004, 1006 (Idaho 2001) (“Community assets may be reached to

satisfy a debt incurred by one spouse’s fraud committed during marriage even if the other

spouse is completely innocent of the fraud and has no personal liability where the fraud

benefits the community or occurs during the spouse’s management of the community.”).

     Here, the agreements expressly apply Idaho law. As such, the breach of contract and

guaranty claims, along with the associated tortious conduct, bind the marital community of

Defendant Crews pursuant to Idaho law. As such, Plaintiff has pled adequate causes of action

to warrant a Default Judgment against the marital community of Defendant Crews.

         4. Amount of Money at Stake.

     The fourth Eitel Factor is “the sum of money at stake in the action.” 782 F.2d at 1471.

Although “Rule 55 does not limit the amount of money that can be awarded in a default


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judgment, . . . courts are ordinarily reluctant to enter a default judgment when the stakes are

high.” Hydentra HLP Int. Ltd. v. Porn69.org, 2016 WL 3213208, at *1 (D. Ariz. 2016)

(noting that although $12,000,000 is “a significant sum of money, . . . courts have entered

default judgments for even greater sums”).      Nevertheless, the Court “must consider the

amount of money at stake in relation to the seriousness of Defendant’s conduct.” Weese,

2023 WL 244501, at *6 (quoting Philip Morris USA, Inc. v. Castworld Prods., Inc., 219

F.R.D. 494, 500 (C.D. Cal. 2003)).

      Here, although Plaintiff is seeking a Default Judgment in excess of $1,000,000, this

amount is directly proportional to the harm incurred. As indicated above, the remaining

Defendants breached the three Bitcoin Loan Agreements, Defendant Crews breached the

Personal Guarantees, and Defendants committed various tortious acts. As a result, Plaintiff

was damaged in the amount requested in the Default Judgment. This Eitel factor does not

preclude the requested Default Judgment.

         5. Possibility of Dispute Concerning Material Facts.

      The fifth Eitel Factor is “the possibility of a dispute concerning material facts.” 782

F.2d at 1471-72. This factor is met when the complaint states valid causes of action, the

defaulting defendants were properly served, but fail to respond to the allegations of the

complaint, thereby admitting no material facts exist. See, e.g., Weese, 2023 WL 244501, at

*2 (“Given the allegations of the Complaint . . . and Defendants’ default, the Court finds that

no genuine dispute of material facts would preclude granting the Motion.”). Here, Defendants

were properly served, subsequently placed in Default for failing to appear, and as such, have

in essence admitted no dispute concerning material facts exists. See id.


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         6. Excusable Neglect in Relation to Default.

      The sixth Eitel Factor is “whether the default was due to excusable neglect.” 782 F.2d

at 1472. In this vein, “‘[a] defendant’s conduct is culpable if he has received actual or

constructive notice of the filing of the action and failed to answer.’” Warner Bros. Entm't Inc.

v. Caridi, 346 F. Supp. 2d 1068, 1072 (C.D. Cal. 2004) (quoting Meadows v. Dominican

Republic, 817 F.2d 517, 521 (9th Cir.1987)). “The possibility of excusable neglect is remote

where the defendant is provided proper notice of the pending suit but does not contact the

court or the plaintiff in any manner.” Wells Fargo Bank, N.A. v. Khachatryan, 2022 WL

2288310, at *4 (C.D. Cal. 2022).

      In the situation at hand, Defendants have all been properly served over ten months ago.

(ECF Nos. 7-9.) Defendants Crews and Four SquareBiz have been in default since January

26, 2023. (ECF No. 22.) Defendants have been provided notice of all proceedings in this

matter (including this Motion for Default Judgment), yet have failed to formally appear and

defend. Defendants’ respective Defaults are not the result of excusable neglect.

         7. Policy Favoring Decisions on the Merits.

      Finally, the seventh Eitel Factor is “the strong policy underlying the Federal Rules of

Civil Procedure favoring decisions on the merits.” 782 F.2d at 1472. Although policy

disfavors default, where a defendant wholly fails to respond to the complaint, a decision on

the merits becomes impractical, if not impossible, and “the default mechanism is necessary to

deal with wholly unresponsive parties who otherwise could cause the justice system to grind

to a halt.” Trident Inv. Partners Inc. v. Evans, 2021 WL 75826, at *3 (D. Ariz. 2021); accord

Zekelman Indus. Inc. v. Marker, 2020 WL 1495210, at *4 (D. Ariz. 2020) (“Defendants who


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appear to be ‘blowing off’ the complaint should expect neither sympathy nor leniency from

the court.”). The mere existence of Rule 55(b) “indicates that this preference [for decisions

on the merits], standing alone, is not dispositive.” PepsiCo, Inc., 238 F. Supp. 2d at 1177.

      In the situation at hand, all of the above analyzed factors override the policy disfavoring

default judgments. See Yelp Inc., 70 F. Supp. 3d at 1100. Defendants have ignored this

litigation and the requested Default Judgment is Plaintiff’s only remedy.                   See id.   On

aggregate, the Eitel factors warrant entry of the Default Judgment.

 C. The Principal Loaned Plus Reasonable Interest Are Warranted as Damages.

      After the Court determines that a default judgment is warranted, it must then consider

the appropriate remedy for each claim. In this vein, “[a] default judgment must not differ in

kind from, or exceed in amount, what is demanded in the pleadings.” Fed. R. Civ. P. 54(c).

“After entry of default, well-pleaded factual allegations in the complaint are taken as true,

except as to the amount of damages.” Yelp Inc., 70 F. Supp. 3d at 1100. Nevertheless,

“Courts may rely on declarations submitted by the plaintiff in determining appropriate

damages.” Weese, 2023 WL 244501, at *6. Further, a plaintiff’s “burden of ‘proving up’

damages is relatively lenient,” as most of the factual and legal predicates entitling a plaintiff

to damages are deemed “admitted on default.” Philip Morris USA, Inc., 219 F.R.D. at 498.

            1. Plaintiff’s Prayer for Relief and Recoverable Damages.

      Here, the Complaint prays for relief against Defendants in the form of:

       1.      Any and all damages, including economic damages and the principal
               loaned, which will reasonably and fairly compensate Plaintiff;
       2.      Attorneys’ fees and costs of suit, as allowed by the terms of the
               Agreements, I.C. § 12-120(3), and other applicable laws;




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        3.      Pre-judgment and post-judgment interest at the highest rate permitted by
                law; and
        4.      Such other and further relief as the Court deems just and equitable.

(ECF No. 1 at 18-19.)

      As indicated in the accompanying Declaration of Cody J. Schueler, Plaintiff disbursed:

(1) $279,867.55 in Bitcoin on March 27, 2021 pursuant to the first Bitcoin Loan Agreement;

(2) $363,000 in Bitcoin on April 26, 2021 pursuant to the second Bitcoin Loan Agreement;

and (3) $296,100 in Bitcoin on April 29, 2021 pursuant to the third Bitcoin Loan Agreement.

(See Schueler Decl. at ¶¶ 5-10.) Defendants never repaid the principal loaned by Plaintiff.

(See id.) As such, Plaintiff is entitled to recovery of at least the $938.967.55 principal loaned,

plus pre-judgment interest and attorneys’ fees.

             2. Pre-Judgment Interest Pursuant to Idaho Law.

      In general, “[p]re-judgment interest in a diversity case is governed by state law.”

Weese, 2023 WL 244501, at *7. Pursuant to Idaho law, “[w]hen there is no express contract

in writing fixing a different rate of interest, interest is allowed at the rate of twelve cents (12¢)

on the hundred by the year on . . . [m]oney due by express contract.” I.C. § 28-22-104. As

such, Idaho law does not have a cap on interest in a commercial transaction if there is an

“express contract in writing fixing a different rate of interest” above 12% pursuant to I.C. §

28-22-104. See F.D.I.C. v. Fox Creek Holding, LLC, 2010 WL 2667336, at *5 (D. Idaho

2010) (“Idaho does not have a usury law.”); Gro-Mor, Inc. v. Butts, 712 P.2d 721, 726 (Idaho

Ct. App. 1985) (“While the legislature permits parties to contract for pre-judgment interest

rates exceeding the legal rate, the legislature limited the amount of interest which attaches to

post-judgment debts.”); Carter v. Warde Capital Corp., 838 P.2d 327, 329 (Idaho Ct. App.


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1992) (noting the “repeal of the usury statute in 1983”); I.C. § 28-42-201(1) (“With respect to

a loan, . . . the rate of finance charge shall be that which is agreed upon between the parties to

the transaction.”). Absent a contractual agreement to the contrary, under I.C, § 28-22-104,

“[t]he applicable interest rate is 12%, not compounded.” Edmark Auto, Inc. v. Zurich Am. Ins.

Co., 2020 WL 127979, at *15 (D. Idaho 2020).

        “In Idaho, pre-judgment interest is available only when damages are liquidated or

ascertainable by mere mathematical process at the time of the breach.” Bright Harvest Sweet

Potato Co., Inc. v. H.J. Heinz Co., L.P., 2017 WL 4246777, at *1 (D. Idaho 2017). In this

vein, “[t]he essential rationale for awarding prejudgment interest is to ensure that the injured

party is fully compensated for its loss.” AgStar Fin. Servs., ACA v. Nw. Sand & Gravel, Inc.,

483 P.3d 415, 428 (Idaho 2021). Here, Plaintiffs’ damages are easily ascertainable by simple

mathematical calculations. Although the Bitcoin Loan Agreements call for a higher interest

rate, Plaintiff only seeks recovery of the principal loaned plus pre-judgment interest of 12%

annually. As such, Plaintiff’s damages are as follows:

        Category             Principal      Interest            Total                 Principal Plus
                                            Per Day3          Interest4                  Interest
    First Agreement        $279,867.55      $92.01         $79,772.62               $359,640.17

    Second Agreement       $363,000         $119.34        $99,887.58               $462,887.58

    Third Agreement        $296,100         $97.34         $81,181.56               $377,281.56

    Total                  $938,967.55                     $260,841.76              $1,199,809.31


3
 Calculated by multiplying “Principal” by 12% and then dividing by 365 days.
4
 Calculated by multiplying “Interest Per Day” by days outstanding through today (August 11,
2023). This is 867 days for the First Agreement, 837 days for the Second Agreement, and
834 days for the Third Agreement.

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 D. Plaintiff is Entitled to Attorneys’ Fees in Obtaining Default Judgment.

     The Bitcoin Loan Agreements provide: “If either Party commences legal proceedings to

interpret or enforce the terms of this Agreement, the prevailing Party will be entitled to

recover court costs and reasonable attorney fees.” (ECF No. 1 at 24.) Pursuant to District of

Idaho Local Civil Rule 54.2(b), “a party claiming the right to allowance of attorney fees may

file and serve a motion for such allowance within fourteen (14) days after entry of judgment.”

This procedure is applicable for default judgments. See, e.g., J & J Sports Prods., Inc. v.

Aiken, 2022 WL 3213094, at *2-3 (D. Idaho 2022). As Plaintiff is entitled to costs and

attorneys’ fees in obtaining this Default Judgment, he respectfully requests the ability to

submit a Motion under Rule 54.2(b).

                                      CONCLUSION

     Based upon the foregoing, Plaintiff respectfully requests that the Court grant this

Motion for Default Judgment and enter Default Judgment against Defendants Four SquareBix

and Crews, jointly and severally, in the amount of $1,199,809.31.

     RESPECTFULLY SUBMITTED this 11th day of August, 2023.

                                           ETTER, McMAHON, LAMBERSON,
                                             VAN WERT & ORESKOVICH, P.C.


                                           By: /s/ Andrew M. Wagley
                                              Andrew M. Wagley, ISB #10277
                                              Samir Dizdarevic-Miller, ISB #11471
                                              Attorneys for Plaintiff Cody J. Schueler




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                              CERTIFICATE OF SERVICE

     The undersigned certifies, under penalty of perjury of the laws of the United States, that

on the date given below, I caused to be served in the manner noted copies of the foregoing

document upon the following parties:

    Keith Crews                                      U.S. Mail
    1503 Scenic Overlook Court                       Facsimile
    Kennesaw, GA 30152                               E-Mail
                                                     Via Hand Delivery

    Four SquareBiz, LLC                              U.S. Mail
    C/o Registered Agents Inc.                       Facsimile
    30 North Gould Street, Suite R                   E-Mail
    Sheridan, WY 82801                               Via Hand Delivery


     EXECUTED this 11th day of August, 2023 in Spokane, Washington.


                                     By: /s/ Jodi Dineen
                                        Jodi Dineen




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